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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE

                                                         Docket No. 1:17-CV-00221-DBH

JENNA O’LEARY,                                   )
                                                 )
                     Plaintiff                   )
                                                 )
                     v.                          )
                                                 )
MAINE SCHOOL ADMINISTRATIVE                      )
UNIT #27,                                        )
                                                 )
                     Defendant                   )


                            STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties hereby stipulate that the above-entitled matter is dismissed with prejudice and

without costs.


Dated: January 19, 2018
                                                 /s/ Amy Phalon
                                                 Amy Phalon
                                                 MURRAY, PLUMB & MURRAY
                                                 75 Pearl Street, P.O. Box 9785
                                                 Portland, ME 04104-5085
                                                 (207) 773-5651
                                                 E-mail: aphalon@mpmlaw.com

Dated: January 19, 2018
                                                 /s/ Melissa A. Hewey
                                                 Melissa A. Hewey
                                                 DRUMMOND WOODSUM
                                                 84 Marginal Way, Suite 600
                                                 Portland, ME 04101-2480
                                                 (207) 772-1941
                                                 E-mail: mhewey@dwmlaw.com
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                            CERTIFICATE OF SERVICE

      I hereby certify that on January 19, 2018, I electronically filed the within

Stipulation of Dismissal with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to the following: Melissa A. Hewey, Esq.


                                                  /s/ Amy Phalon
                                                  Amy Phalon
                                                  MURRAY, PLUMB & MURRAY
                                                  75 Pearl Street, P.O. Box 9785
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